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                       IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 La’Shadion Shemwell,                                         CIVIL ACTION 4:20-V-0043-SDJ
 As Council Member, and
 In his individual capacity
 as a voter of District 1.

   Plaintiff,


 -v-

 City of McKinney, Texas

      Defendant.
 ________________________/


   PLAINTIFF’S AMENDED NOTICE OF VOLUNTARY DISMISSAL WITHOUT
  PREJUDICE OF CLAIMS AGAINST DEFENDANT CITY OF MCKINNEY, TEXAS

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff hereby files this Notice of Voluntary Dismissal without Prejudice. Pursuant to
Federal Rule of Civil Procedure 41(a)(l)(A)(i), all of Plaintiff’s claims against Defendant City of
McKinney, Texas are hereby dismissed without prejudice.

DATED: March 13, 2020                                Respectfully Submitted,




                                                     ____________________________

                                                     Shayan Elahi, Esquire
                                                     State Bar No. 24080485
                                                     13601 Preston Road Suite E770
                                                     Dallas, Texas 75240
                                                     Telephone No: (407)-902-5282
                                                     Facsimile No: (214) 602-8911
                                                     shayan@elahilawfirm.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2020, I served in a manner approved the Fed. R. Civ.

Proc. a copy of the Notice of Dismissal to all parties of record.

                                                              /s/ Shayan Elahi
                                                              Shayan Elahi, Esquire




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